Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 1 of 36

Exhibit E
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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 2 of 36

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1. 00. COUNSEL 831 771 695 = P.B323
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. THE SUPERIOR COURT Of CALIFORNIA
BY F ‘AX . _ COUNTY OF MonTEREY
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LANDY,
mecccemeer | Same 477563
RANCHO SAN JUAN OPPOSITION
COALIDION, en uninsarpormtad association,
. PETICION FOR WRIT OF
Plamniifit: ond Potitioncrs, AND , ;
~~ AnD SMELAINT FOR DECLARATORY
COUNTY OF MONTEREY; (ade Civ, Proc. 55 10BS, 1054.5, a3,
eu sort Coliforms Eaviranmencal Quallsy Acs Puls
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YH CORPORATION, aXe , $5667 Ney
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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 3 of 36

1 DEO-GB-2005 | 16:44 |

moe seme FE

Code sections 65000 et seq.t (3) Sonate Bill 610, Water Code auctions 10910-er.see.; (4) Senate Bill 227
ae; Ce 1
Goverument Code § 6647.7; and (5) applicable provisions ofthe Montenvy Connty Code,

eetvity that could potentially alter the physical environment unites and until the Co: has uken

j{ ations necessary to bring its actions into conformaricy with CEQA, che State Phning vot en :

|} Senate Bil! 620, Senars Bill 221, and the Monterey Coury Code, Fitvally, retlonaes seek me
effect of the County’s approval of the Ravised Project during the pensdeney of these seating, nme

PARTIES

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 4 of 36

cO. COUNSEL em 831 71 O85 = P.2523
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4 |i theough publle policy development, advocacy, and cdueatinn, LandWatch ty dedicated to ji

5 || eeonomis vitality, high agricultural productivity, and snvitonmental health in Monterey Coun

6 [encouraging effective public participation in the ind Use planning procesu, “mr

7 4. LandWatch's members, directors, and stafF ineiude residents, taxpayers. and cleotorg i

8 | Monterey County whp currently enjoy the nrultituds of aesthetic, Ficroegiona], and health benef

9 meio undeveloped state of the Revised Project area. These Include: eloun aii
reserved Natural resources, syrioultumn! Productivity, unobstructed Views of the naturs! .

1D [hiking tralis, and traffic levels significantly Jess than Ghose they will experienae if ea
alien & Revised Project
13]. LandWawch's members, Glneetors, and sft have a clewe and prevent tight t and beneficte!
swab fe Conny’ prorat of tx des m comply wih CECA, te Sue j 9
Law, Senate Bit 610, Senate Bit! 22), and the Money County Code, As citizens, een

Land Wateh’s members, drestors, and sat alsa sudtsr dire injury as 2 rosuls of the
| Revised Project's adverse crivironmcpial, public health, awnhotio, and land tse impacts, These lochuds
} the permanent loss of vast Quantities of Corrently undeveloped Open space ond werieultyrl lands, 4

blighilng of the-arca’s lantbacape, afp Pollution associated with increased vehicle mafic from

Walfic congestion inthe area, impacts to local water

Inefficient land development, and an overai! decrease mauty tt “ my rion ™

2. 3 Sl sets, Lane Watch secs bo protest erst of he rere directors, and sit
and to enforce a public duty owed to them by the Couray, Becante ths cits aston md -
Sought in this petition are broad-based and of'a public os Opposed ton purely private venue

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Faw Detaratirry dt ieee bare ?

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| including Comments on Dye proposed Addendum, to the County prior te and during the public hearings
cubninaiing in the County's November 7,2008 sperovals,

cs ee wm uw bm ow A

| Bill 610, Senate Bil! 221, and she Monterey County Code, As chizens, homeowners, taxpayers, and
Velcetors, the ConBtion's members are within the class of Dersons to whom the County owes such atin

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 5 of 36

- 831 771 oss = P62
; P, 605/a42

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nature, direct participation in this Rupavion by LandWareh's individual members is not avetssury
& Lund Watch presented oral and ‘writin eomumonts Jn opposition to the Revised Project,

Rancho Sao Juan Opposition Conlition .

10, The Coalition's members heye Sflexe ind present right to, and beneficial interest in, the
County's pertormance af'its dutics to comply with CEQA, the Stets Planning and Zoning Law, Senate

i. The Coatilon's tihembers will also suiTor dicwet injury ase result ofthe Revised Project's
adverse sovironmental, public health, aasthetis, and tsnd ute impacts, ‘These locludes the permanent fos;
of Vast quartities of currsatly undeveloped open space and agriculrural lands, blighting of the erca's
Jundscape, tir pollution ansocinted with increased vehicle infilc from sonstruction and operation of the

impacis 1 looal water supply and water quulity from poorly planned and Inofcjent land development,
and at overall decrease in quality off life.

42, By this action, the Coalition seeks to protect the innereste of Its thonrbers And to enfece a
public duty owed to them by the Conary, Because the claims Steutted and the refief somphe In this
poultion are broad-based ond ofa public as opposed to 4 Purely private or peeunlary nature, direst
patticlpation in this litigation by the Coalition’ individu! members ts hot necessary,

Petition Sar Wel oT Munda & Comeptated
Fur Declactory & Infunciive Relfar 3

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 6 of 36

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4 Defi
wins nn CGUNTY OF MONTEREY County”) fs 4 polities! subdivision of the Stae-of
ame ovamber 7, 2005, the County, ibrough ite Boned of Supervigors, Approved sencral
bren plan amendments, 2 specific plan, and zoning shanges, and eurtifind an Addendum under ™
| im

PROCEDURAL }y8 WT A:
18 The Butterfly Vitiag, Revise Projet cont 3571 son
utterfly Village area of the Revieod Project consttts-of571 acres and fp located in

° 3

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{°ulation, conservadion, safety, and ndiss elements ofthe General Plan were last updated In 1982. The

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 7 of 36

631 771 595 = P.Ba23
“——P, 267/042

Development Concentration Development Guidelines ted Principles, The land ust, traffic snd
It 8 .

housing and open xpuea elements were lapt Updated in (097.

derelopment agree 5 ternati ;
Agrcement, vesting temmtive map, use parmins, and various other Spprovals (collectively

the “Inhtist Project”), The Copnty doomed the applicalion complete an Februnry 3, 2603,
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Pothtion for Writ of Mandasy &
For Netiaatory & bjumative Bei $

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 8 of 36

1] 24, The Initiut Project inchaded revisi
| (Ons th the Gneral Plan and Greater Sal}
: er Salinas Ares Pt
_— size of the Rancho San Jum ADC to 2581 aeres, odding the are betwen Rese Ray
nas (the “Rysvel? Road Study Arca” intended wo rake the ADC contiguous wih the City of

19, 2004 10 July 12, 2004,
2, * =
Several Interested agencies, Private individuals, and Orpanizations, including Petitioners,

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chalicnged the Initia! Pro} ith the G
= Tnis! Project's consistency with the Gener! Plan And applicable regional plans and §
compliancs with Senate B51 610 and Scnate Bi) 221, .

]Pethin for We of Mandate & Come
For Declantary & Infunutive Resticf é

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 9 of 36

CO. COUNSEL

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32. Included in the County's recitals Approving the Goners} Plan and Area Plan amendments
were findings that the amendments wry compntible and imemslly consistent with che County General

id i a a, s
ee Potentially signtficant AMpacts of the Iniiial Projet: (b) the Initial Project wold SeUSe cenain
Si@nliirant envixenmental impacts that Ware ether lesssthan-elenifieane, or that would te redhied

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that would reduce or avoid potentially signifeme impacts, including a "No Project” altornative, ag
evaluntod in the GIR, were infeasible or “less desirable" due io dconombs, novial, or other considerarl
ona,

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| For Setioniory & Lafunctive Relies” 7 . -

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 10 of 36

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sate, PuONS predicated
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nrutee resuie the conclaslang reached by the studica, dota, Feports and analysis contained in
37, In Ratemont

tee, we a of averriding considenufons Pursuant to Section 21080 of the Public
e O06, the Board found thay ceonomic, Jegal, social, technological, or oiher benedi

iia] Project outwaighad thelr onavoideble adverse eavironzacntal effects th =
environmental efter may be considered “yeceptable.” meses

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16 jf compliance with Pubtte Resources Code section 21552,
! 1 io = “
7 40. In hs resoluion adopting the Inidal Specific Plan the Board solnowledged that it hud “gm
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. on The Board notod major iesucs related 19 waft, waer use, and affordable housing and

23 || “rust 961 now in order to ovoid flrther ofaims of liability” from HeYoH.
wit al, Ascordingly, in Its to Board
+ it Its resolution adppting thy initial Spec!
1s line pectic Plan the diecowd
ae “ovety Counsel to retur to the Gard within sk month sit ccstmendayone nd ra
is % y i
; the Ams of Devalopment Concentration from the Genera! tan and Greater Salinng Aveg 0
<0 || amending or rascinding the Initial Specific Play tt appropriate, =

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Far Desthitgtary & injunctive Rellor vain &

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 11 of 36

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€O. COUNSEL
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42. InJanu Pasitis
wary, 2005, Peshioners Gnd four other pardos, eluding the Chey of Salinas and the

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20 j[ Specifi; i
ate na ees for [and uses that inekide 2,34? rosidential units, a golfcourse and Hi
. mallee arc unils, 45,000 29, #. of refi commercial development 11,8 iefes of public wh
SPAN BPACR, & wastewater Treatment phmt pnd police and fire stations. ms

25 1}45.000 sq, £.(1.2%) of the orightally proposed 3,676,850 54. B. of commatsialin
. vend the tow, tenter, the neithborhood Senter, the employment center the ee nee
a live/work i i , ome
vefwork uses. ‘The Revised Specific Plan eliminated the raquirem nea
~ lean hha Ent to provide varinve public

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 12 of 36

DEC~O8-2005 16:49 MQ, OD, COLNSAL SM Wri eSesS = P,13/23
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4 |; Thesw amendments, together whi ,

the adoption of the Revived ite Lo
5S }{lakial Specific Plan, constitute the Reviaed Projet Spocific Plan and the réselnding of the
‘ Proj
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13/1 51. ‘The amendments to the |
Greater Salinas Arca Plan for the Rey
, , icud ject
I< forthe 57 l-acre Bunorfly Village development b referencing the Yaad Prost designate land ws
Specific Plan. v HESS Set Out in ths Revised

ypate chould provide the ma} : 3 phased
e u Provide the Major Secess to the site: tho requirement thatthe ADC developmene be
managed to previde a jobshousing balance; the requirement that the majorhy oF fle . ah
Teserved for industri i , ak
hauistrial uses: snd the requirement that a fire station, Ubrary, schools, com unity conters,
a, ifreasled, s police station, should be provided, ~

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 13 of 36

831 771 595 P.14/723

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By approving the Revland Project and rescinding the Initia! Gpesific Plan, the County
substituted wn isolated 67 J-acro goll-course and low denalty rasidenria? develonment for cho long-
planned und initially spproved 2,421 -nere mined nse evelopmont adjnesnt to the Chy of Sail ,

55, Ths Revised Project cansey wmitigated traffic impacts that conflict with General Pina and
|| Greater Sstinas Area Pian goats and policies, ™

56. The Revised Projest senders the General Plan and Gireater Salinas Atta Plan inconsistent
because the circulation element no Tanger supports the load use clement.

37. The 1982 Montercy County General Plan Cirentation element js go longer adequate io

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ekaserbates them.
58. The Revisod Project cones with mmerus General Plan and Greater Salis Arce Plan
policies, Inchuding policies regarding sgrlouluys, growth, ridgeline and slope development, and water

60, The County"s action te rescind the Initial Specifies Pian fesullod in thera being ng designation

Pattion for Wil nf Minette &e Cornpiain
For Doclenaety ds Injuuctne Relief” "oy

- «'  DEC-#8-2395 16:58

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 14 of 36

31 771 O59 P1523
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62. "the Addendum consisted of 6 Pages with over 75D popes of *pporting technical stuefes,
The Addcaduin wus relensed 7 business days prior to the Pianning Commission beating on October 19,

G6. The Addendum Included a.nevs Water Suppity Animagment (*WSA") from Califomia Water

Service Company, which Purported to be prepared in compliance with Senate Bill 610, Water Code

sections 10910 efsug, The new WSA concluded Gat the Revised Project would use 25 serceltet of

f Pater aove than vxisting ayricuural uses on the Butterfly: Village sits, The WSA Prepared for the

4] Htltial Project hed concluded thatthe Buderfly Village Project would use fess water chan existing

agteuhurat uses on the site. Nonetheless, the Addendum conclude} thut the Revised Projeet would net

‘have significust individual or sumulutive tnypacts.
$5 The Addendum provided no analysis of moving General Plon Jand use nad zoning

designations fiom the arpa inoluded in the former ADC but noe insluded In the Butiorily Villoge

development.

&7, The Addendum reformaced a how onalysis of the consistency of the Revised Projest with the
Gencral Plan and Granter Salinas Ares Plan, That analysis purported! tp reflect the proposed

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 15 of 36

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see we ee yey Ve UD

19, On November 7, 2005, the County Board of Supervisors Conducted a hearing on tha Revised
Project, at which Petitioners and others prescathd additions! oral and written comments ,
| ‘Opposing the

72, Inndopting amendments to the General Pian, the Greater Salinas Aven Plan, and the Rancho
. J oO:

Pethihuts Bor Weil of Mandate de C latne
| Foe Declare & Anhui Reker

f 36
Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 160

DEC-28-2005 16'St_

|j General Flan and the Crestor Salinas Arca Pian, The County atso found thet the FEIR for the Initial
Project included ond imalyzed the environmental impacts sssociated vith the amendments,
| 73. The County had adopied S statement af overriding considerations purtuant to Section 21080

| overriding considerations in Sipport of the County's upproval ofthe Revised Project.

74. ° On November 2, 2005 the County filed a Notice of Detcrmination indicating (1) that the
County had determined that tho Revised Project will have a significant effect on the onvironmens; (b)
10 || thatan EIR Acidendum wns prepared and certified for the Revised Project: (c) that mitigation messures
11 ff wore sande a sondtion oT approval ofthe Revised Project and thst tho previously approved mitization

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3 || benefits thar the Revisod Project wilt nol roulize, such as the Provision of designated qumbers of wnlis

6 || sFforduble housing and emplayment opnorumities. Coumy stat did no RECpare & byparate stabement of
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76 Atal times melevemt t this action she County wos the “Lead Agency" responsible for the
19 || review and approval af the Revised Project under Pilbtie Resonrecs Code siction 21069,
20 77, A Lend Agency may not approve a development Project without performing the
21 |/ enviromental review required by CEOA,
22 | 78. Under CEDA, the County was Tequired to prepare an BIR thar included an ascurnte, sable, -

Potion for Wii 08 anche Comptaint
For Bocbpiory.& injunetive Reliet “4

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 17 of 36

631 771 2595 P. 18/23
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~T-m8S 16:52 MO, CO. COUNSEL
Une LEAR “sP (FAQEIO 8782)?

ee ALS TE

79. Under Publis Resources Code suction 21110, the EIR was.also required to contain a
maigment bric{ly indicuting the reanons for determining that various oRfbets on the environment of the
Project ware not significant and Sondequenily were not discussed in detail in the EIR.
|} 80. ‘Under Public Resources Code section 21 100(6)2A), when preparing on atrritonmental

impact report a Lead Agcnoy must identify al! significant effecis on the savionment caumed by 3
Propoeed project that cunnot be avpided,
| BL Under 14C.C.R. section 15125¢¢) an £01 mupt discuss any ineconsinteney between the

proposed project und appifaable general Plons and rgionul play,

2. Under Publi Resouress Code sestion 21700(4)3), ioe pepecing an environmental impact |
report a Lead Agency must Identity mitfpntion measures to minimize significant impacts on th

$3. Under Public Resources Code rectlan 21081(a), a Lead Agency may not approve a projeet
forwhich an EIR identifies a significam environmental Spat unless the Impnet has ben mitigated or
| Moided by ehngey in the profeet o undess the ageney specifically finds thoy overriding benefits
outweigh the significant effects on the environment

Perielon toe Writ of Mandhes & tp
For Dechuzutary i ajar Ble “ 5

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 18 of 36

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85, bare

® Potithonors here incorporate by reference the Preceding paragraphs in their cuuzciy,
: Under CEQA, a EIR mug include a finite, stable, soourste and memningful project

| description. (14 COR. § 15124)

51. ANEIR must also discuss suy inconstsiene ,
sorte wide a v ariiae between the Proposed Project and applicable
52. The BYR and Addendum foil to include an accutate description of the Revised i*rolect’
Physica and cavirommental setting, and fall to Identify of discuss uumerpus Incontistcncie oe
Revie Projectand the Montersy Gencrol Plun, thy Greater Slings Area Plan, and applicable i :
- including the Monturay County Water Resoureos Agenty Ordinance Ng, 3539, chores
sth ar ray vn eet . een Monterey ay Unified Ak Pollution Control District's
Oly eee | tral Coase Regions! Water Quality Control Bonrd's Water

lan, the Boronda Memonmdum oF Understanding, the City of Salinas General

Paiition (or Witt of Maachna #& Com
For Cesheniury 4, Iejunecdve Rellel “a é

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 19 of 36

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Poser amen ey wr OLS MARA SUF * “tre 878 SM P o1e/a2

, 93, The County ihorefone prejudicialty abused its discretion in certifying the Addendum by
fa 88 10 proceed in the manner required by CEQA, and by ada ing findi om
C opting findings thar
3 ithe evidence, ease ene °
‘ Const Taree -Falars To Evaluate Adequately AU Sigalicant Project npact
54, Petitionors here insorporite by references the preceding paragraphs in their eptirary,
6 35, Undar CEQA, an GIR must identify and avaluate the direct, indlrest, and puruative
7 [fenvironmental impaeis of «il phases of'a project. 14 CCR, § 15126. The diseusglon fiust inchde
& || relevant specifics of the ares, the resources involved, Physicsi changes, alterations to ecological rystems,
5 flood changes induced in population distribytion, popdlatinn concuntrstion, the human psc of ths land
19 Gincluding commerclal and residentig] development), health and anfciy problema caused by the physical
i} | changes, and Other aspects of the resource base such ay water, historical MesOuiees, Scenic quality, and
12 }ipublle services, 54 CGR, § 151262.
B $6. The EIR and Addendum for the Revised Project tll to evaluate af the Revised Profect's
4 significant direct, lndlrect, and cumulative Impacts, tacloging Impacts on aesthetics, agricutrural
15 jl resources, air quality, binioglea! resources, culural resourcus, peolopy and Soils, hazards md haenedous:
16 ji menerials, hydrology und water quality, land use and planning, mineral resources, noise, population und
17 || housing, public services, recrestion, tmnsportation ond traffic, Water resources, and uities.
Wt fo
1 97, The County therafory prjudicially abused its disensifon ks certifying the Addendum, by
Filling to proceed in the manner eequlasd by CEQA, i i
14nd by adopting findings th

m0 lbeonae Gb tindings that are not supported by
31 Count Four ~ Failure To Evabsate Addequuntety All Foasible Mitipstion Measures
2 98. Puiitionsrs hers incorporate by reftrones the preceding paragraphs iis their cntirety,

*

43 59, An BIR must deseribs and Cvalusts feasible measures for minknteing or avoiding a projcct's |

28 |i geology and salle, hazards end hazardous mplcrials, hydrology and waar Quality, land use ond planning,

Peridon (be Writ oi'hiaadane & Courpluied
Yor Declaratory & inkeneaivg Relies it

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 20 of 36

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tnineral resdurcus, note, population and housing, publi Fecrer
public services, ion
vturninan coon RErvices tion, transportation and wallio,
. 101. Ths County therefore prejudiciatly ubused its discrecion in sortifying the Addendum by
iti to . . . a # ,
Ing to proceed in dhe minher required by CEQA. and by adopting findings that arene parted
the evidenow, : ” "
Count Five ~ Tnproper Deforral Of Mitigation

Potitionyrs here incotporate by reference the preceding parapeaphs in their entirety

3. The EIR and Addendum improperly defor to a future date evaluation of mitigution measures

2 The County ‘heredbre penjudtefally abvsed les disemtion in certifying the Adklendum, by
Hn tO peocoed in the manner required by CEQA, and by adapting findings thet a Fupported
28 [| the evidence, ™ "

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Significant unavoidable impacts untoss it finds, based on subszential evidence, that Specific overridi
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ciriding coonomic, ingal, social, technological, or other benefits of the project avtwelph the

10, CO. COUNSEL Si Trl OSS = P.22r23

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‘Count Seven-~.No Supported Statement Of Overriding Considerations
ee here Ineorporta by reference thy preceding Paragraph in thelr enlirety,
Under Public Resources Cade nection 21081(b), an ageney TRY BOL SEPFOVE a project with

The Copnty did not mmke a finding in connection with the Revised Project thar speciti
fie

ae here Incorporate by Teference the preceding pirepraphy.in their entirety
ndot Public Resources Code section 21166 nnd 14 C.GaR, sections 15142 and 15163, a

Feria for Write Manco & Complying

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OF considerably differenc than those identified i
re inthe 21R, would substenri
significant effects bu thy rpplicant declines ty adopt thom, mma voner
17, i ,
117. Inadopting the Revised Panject, the County made submanial changes tothe Initial Project

= om (Wioltion of State Manning and Zoning La)
] ‘ethioners here incorporate by refernca the preceding parapraphs in thelr entirety

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For Cmtriny& Ierive Rebel »

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123, .
23. Under the Planning and Zonlng Law, Goverrmnem Code section 65000 8t seq, 3 Incal public
AQency May cntitle a proposed land use only ifthe land use Is consistent with the gol, policies, and
objectives contained fn x valid Surtent, intemally .
; consistent Genera] Plun, and wit
viata ie Plan, and with all applicable duly
124, : i

source eh ne eel 63005 ree ta yo eral plan and elements and parts thereof

: an inleprated, intemal} i mpatible stare i
| Y Consistent and compatible Smofpolisies for tne adopting
125. Government Code section 65302(b)

Provides ther the circulation clomen

/ Shall be correlated with the land use clement " nen
126. i

6. Government Code section 65103(4) repies a ical planning agency, including the County

1 porlodically review, and Teviss, as necessary, ite gener plan,
127. ‘Coc
Government Code section 65751 provides hata weit of nttndaie under Code of Civit
Procedure seotion 1085 tay be obtained Jochallenge a general plan or clement thereof eg the rounds
thot sucha plan or clement does NOt Comply with the requirements for penetra} Plans set forth
| Government Code scclion 65300 er seg, "

section 653 ,
- oi i Cony al bing bs gar plano compliance wits Yn day,
' eminent Code secon 65735 provid that the court may aso order rolie? inc hiding
Sen ofsahory lesa penis, mo rat conta changes, ant grat subvsion map

sStnkrative memdamus Whera « public agency, in 4 Proceeding in which by lawn hearing is required
to be given, has committed g projudiclal abuse of divenetion. Abuse of diseretion Is caubited ths
"ny fas not proceeded inthe manner requited by law, tho ado or decison ix nat sa ted
Aindings, or the fiadings are not euppoeted by the evidence, mes
Count Nine — Invalid General Plas
131. Petitioners heru incorporate by reference the Preceding paragraphs is thei enuiraty

Positions for Wiis uf Mapdagy at
For Deslaratory & Injenative Rejict a

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 24 of 36

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. cin Te Projet Na Consistent Wick Vag, Curneut Geacral Play
. Soners here incorporate by refirenes the preceding paragmphs in their enthety,

‘Under the Planning and Zoning Yaw.

a2 14]. Atths time of the Gcneral
County's approvals of the Revised
. Greater Salinas Aven Plan Attn cnet icMemr tec ne ™
}ncomploie, intemal , -
Y inconsistent, out-of-date ang failed ta comply with all oppiicable Stetutory erfreria

135, i
oats Saar, Hime af the County Sapprovals of the Revised Project ad relaved General Plan and
nesmien . may Plan ‘spenders Challenged herein, the Monterey County Genera] Plan wes
inconsistent, out-of date, and failed ta comply with al! apphenble stomtory criterty

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Peiition for Welt of Mtsacane & Coniplain
Foe a Infwnethe Kefict 2

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| Count Twelve— Greater Salinas Area Pian ,
' : jmetdments Render Genera} Man Inadequate Ans

|| agricuhure, Transportation, erowth, water, Open space. conservation, and safety,

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 25 of 36

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146. Petiioner :
ae vies here Javorporate by reference the preceding paragraphs in their entirety,
= Planning and Zonlog sw requires General Planet be knecaslly consisjent and tht the
clrralation clement be correlated with the fand use sleavent.

150, The amendments to the Greater Splinns Ans Plan end the Rancho Sn Juan Areas of
Developetent Concentation Devetoproent Guide|ines tind Principtes ara inconsistent with the poals,
policies, and implementation plans in the County General Plan, inchiding those eonceming lond use,

157, The amendments to the Greater Saltoas Aree Plan and the Rancho Sect Juan Areas of

ff Patton for Writ of tetas & Complaint

Foor Declarntery & injunctive Rekies* a3
Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 26 of 36

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| "e reve Revie Psy te Cony adopted avin Spt Pan,
le . Revi Speci Plans Inconsistent with the gol, polls, an nnplemenation plane
ae os Seni Genel Fn at ho Crete Sts Ara Pl ican hose coceing fn oe,
| ee y growth, water, Open Spats, conservation, and safety.
bnty’s adoption of the di
nate Wthece Fe eet Pn fer dety pies the
1° 167, The Cosby's action in adopting te Rovised Specific Pen was heefre aba end

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| Petition far Wek of Minatape te
| Pe Deatarateiy A injunctive A epinolaler as

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Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 28 of 36

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weer hres 61 AD

17t. Senate Bit 23} (SB 221") prohibits approval of a residential subdivision over 300 -uniix
unless these is written verificathen ther 8 sufficiem water supply is or wil) be available. Business and
Profestion Code § 11010(a}; Guv. Code §§ 65867.4(0), 66473 700). 58.221 comamplates ysing the SB
$10 water supply assexemant as 2 means of evecting the requircment thet a cty have a wrinen
Verification of'a sufficient waler supply before appmving 3 project. Gov, Code § 66473.7(c).

172, The Revised Prolect would be subject to these tequircaments because it includes bore than
500 residential units and requires subdivision approval, Water Code § 109).2(a) Gov, Cade §
664737{a),

subsantial evidence.

| "74 The WSA improperly Concludes with no.shbstontia! evidence that waler demand for the
Revised Project was included in California Water Serviee Company's previous demand forecast,

175. The WSA hills 1 ‘est the SB $10 requirement that » wager supply assessment provide “a

Revised Project area which will be used to. support the Revised Project damand, Purthermore, the

Peciilom for Welt of Manciote oz Con
For Docbratory & Iahmenive Rai %6

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4 long-term supply plan.” To address the shirt se? modium term shorrfall, the WSA proposes to esaess

‘OUtAY program: for financing the water supply, steuring Rovernmental permits for inftestrucnrre, and
ay Tiecesmary regulstory spprovals required by Gov, Code § 66473.7(0}. This omission is not surprising
since the prolects are adminedly only in the Mbasibility study” stave, ,

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 31 of 36

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1H 184, Aithough the WSA prepared by CWSC stared tha the water supply for the Revised Project i
2 jj adiequote, the Coumy filled fo make Findings to that effet tn the: Addoraum or elsewhere: In falling to
3 1 mako.such a finding the County Prefudicially abysed leu distretion by failing to proceed in the manner

4 || required by $B.610, SB.224, and CEQA,

| 185, ACEQA document is invalid iff falls to include inthe project description offsite Lhciliées
7

8

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that are implicit in the project. Santiago County Woter District v. Cotuy of Orange (1981) 718

Gal.App.id 818, 829-230 (omission of requited water delivery facilities invalidates EIR); San Joaguin

Aapion/Witdiife Rescue Canter v. County of tontvaur (1994) 27 CaLApp.é" 713, 729.734 (EIR invalid

|| for failure ia deseribs and analyze wastewater treamment plant.) Neither the FETR nor the Addendum

10 || Snehudes in the project deseription the additional water Supply preifects Identified in the WA. The

VT || County therefore prejudicisity abused its discretion in certifying the Addendum and failing to prepare a

Subsedqucat or suppleracotal EIR, by Failing to proceed in the manner required by CEQA, end by

adopting findings that are nor Supported by the evidence.

1$17 186. A CEOQA document is invalid if i fils to evalyate the impacts of the construction of

15 || necessary addidonsl water supplies. Santlago.Coumy Pater Dist., Supra 118 Cal.Aon.id 818 (EIR may

16 || not'deder dssctiption af environmental effects of constructing essential waror supply fheijlities):

17 |{ Stanislnes Notara} Hertiage Project v, Coury of Stomistons (1996) 48 CaLApp Ath 182 (&1R may cot

18 afer analysis of impacts of providing water supply), Neither the Addendum nar the WSA desezibes or

ID |] contains an evaluation of the impacis of the additlona! supply sources identified a5 essential to b Ginding

. reenact and reliable water supply. This omission is not surprising Ddecnuse, |
¥ Uncertein Salinss Valley Water Project, np environmental review has beeq

22 || undertsken for these snecolative Projects, which are still in the “Geasibillty study” stage, The County

23 || thorolore projedicially abusod its discretion in certifying the Addendum and failing to prepare

24 |] subsequent or supplemental BIR, by failing wo proceed in the manner mcquired by CEQA, and by

25 edepting findings that ars not supported by the evidence. -

36 187, As the WSA and Addendum adinir, the Revised Specific Plan witl result in an increste fn

27 || groundwater consumption from the site by 25 nere-feet per yeur compared to the estimated existing land

28 fom Desphe the admminedly overdralted status of the groundwater basin, the Addendum incorregtly

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 32 of 36

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rT) UAKLANU SP —— (Fst ailhens P agave

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one

~_ that taklag even more walor from the basin will not constitute a significant Enpust, wither for
jet individually, or for the Project taken together with cumuladve conditions. The County —

FOURTH CLAIM FOR REL IEP
. (Wislation of Election Code § 9145; Goneral Plan Incousistency)
i Pesos hes nsrpot by fee eda paragraphs in thelr entirety.
. on Code $9245 requfreg that if the board of supervisors does NOT entirely repos) the

For Orokareory a Heller 35

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te “FASO & Peo, P, 688/442

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197. Petitioners declaca thst they have no plu
020 pluin, speedy, and adequate in
Sours6 Of law forthe iraproper action of the Coty , remedy ine odin

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Petition Sor Writ of Mandate & Costpigin:
For Dectanstory & hajusctive Relief 3

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| WHEREFORE, Petitioners pray for entry of judgment as follows:

Praject;

see Imposiiien of a stay would hor be agains the public interese ke thet the public will derive no
it from the commencement af project construction prior to the Coun’s final Judgtnent,

201.  Innccord Provechre see :
. Ih with Cody af Civil section 1094.5(2), Patitionens may, prior to or during |
& hearing on this petition, Offer additional relevant evidence chet could not, ku ahe exercise of
reasonable diligence, have been produped st the administrative hearing,

Pest confetred om the general public or g large class'‘of persons, and that the necessity and burden of
Prevate chforcement is such as 10 mule en award of fees appropeiate,

PRAYER

1, Fora peremptory wril of mandaty dinecting the County:
() mvt aside its November 7, 2005 aetion scrtifying an BIR Addenthan for the Revised

SNYRRE ER ee

(B} to set nside hs November 7 2005 scuon Project-rel
( , epproving Revised ted nmondments
to the Coumy Geners! Plan and Creater Suliney Area Pk : —
(C} to set aside ite November 7, 2005 4 Specific
’ Sction approving the revised Rancho San ; i
Plan and Zoning changes for the: Revised Project; =

Padltion for Weil of Marbue & C bain
For Declnntny & Iefonctive Rat R

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 35 of 36

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cg VARLANL) SU (FADSIB &

5. Foran award of atomncys” fees
6 For other legal or equitable relief that the Court deems Jost and proper.

Dated: December 7, 2005 Respectfully ebynttod,

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wl M. R. WOLFE AND ASSOCIATES

20 | By se re ee

a | By,

22 Mark R. Wolfs

2 John EL Farrow

0s LANDWATCH MONTEREY COUNTY
NCHO SAN SUA: TION

*s COALITON JUAN OPPOSITION

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Position fer Writ of Mande & Comptaion

Case 5:06-cv-02369-JW Document 20-3 Filed 07/10/06 Page 36 of 36

ruse &

T
have retad the foregoing PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR

||Dared: December 7, 2005

PENTION £ COMPLAINT 4

